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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction



                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                             __________ District of _Connecticut_________

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 3:99CR-85
                    Thomas Smalls
                                                                     )   USM No:
Date of Previous Judgment: June 19, 2001                             )   Noah Lipman
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of x the defendant                  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       X DENIED .       GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of                 months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                  Amended Offense Level:
Criminal History Category:               Criminal History Category:
Previous Guideline Range:  to    months  Amended Guideline Range:                                                        to   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
X Other (explain):   Defendant was sentenced to the mandatory minimum term of 240 months and is ineligible for a
                     reduced sentence.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated June 19, 2001                        shall remain in effect.
IT IS SO ORDERED.

Order Date:        May 13, 2008
                                                                                                  Judge’s signature


Effective Date: May 23, 2008                                                Ellen Bree Burns, Senior United States District Judge
                     (if different from order date)                                             Printed name and title
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